  8:11-cr-00032-JFB-TDT       Doc # 28     Filed: 03/09/11   Page 1 of 1 - Page ID # 48




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )            8:11CR32
                     Plaintiff,           )
                                          )
       vs.                                )             ORDER
                                          )
ERIK LOPEZ-ACEVES,                        )
                                          )
                     Defendant.           )


       This matter is before the court on the oral motion of defendant Erik Lopez-Aceves
(Lopez-Aceves) for an extension of the pretrial motion deadline. The motion was made
during the arraignment on the Indictment on March 8, 2011. Lopez-Aceves acknowledged
the additional time needed for his motion would be excluded from the calculations under
the Speedy Trial Act. The oral motion was granted.
       IT IS ORDERED:
       1.     By April 15, 2011, counsel shall confer and accomplish the automatic
discovery provided for in Rule 16, Fed. R. Cr. P., and shall adhere to the continuing duty
to disclose such matters pursuant to Rule 16(c), Fed. R. Cr. P.;
       2.     Lopez-Aceves’s motion for an extension of time to file pretrial motions is
granted. Lopez-Aceves shall have to on or before May 10, 2011, in which to file pretrial
motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from March 9, 2011, and May 10, 2011,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 9th day of March, 2011.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
